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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )                  Case No. CR 08-344-7-E-BLW
                                      )
v.                                    )                  REPORT AND
                                      )                  RECOMMENDATION
RICHARD B. HASTHEPIPE,                )
                                      )
     Defendant.                       )
______________________________________)

      On May 7, 2010, Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea pursuant to a written plea agreement.

Defendant executed a written waiver of the right to have the presiding United States

District Judge take his change of plea. Thereafter, the Court explained to Defendant the

nature of the charges, the maximum penalties applicable, his constitutional rights, the

effect of the Sentencing Guidelines, and that the District Judge would not be bound by

any agreement of the parties as to the penalty to be imposed.

      Having conducted the change of plea hearing and having inquired of Defendant and

his counsel, and counsel for the United States, the Court concludes that there is a factual

basis for Defendant’s plea of guilty, and that it was entered voluntarily and with full

knowledge of the consequences, and that the plea should be accepted.
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                                 RECOMMENDATION

      Based upon the foregoing, this Court recommends that the District Court take

under advisement the decision whether to accept the terms of the plea agreement and

Defendant’s guilty plea to the charge of possession with intent to distribute a controlled

substance, contained in the Superseding Information, pending review of the pre-sentence

report. If the District Court determines that the plea agreement should be accepted, it is

recommended that the District Court accept Defendant’s plea of guilty to the charge of

possession with intent to distribute a controlled substance, contained in the Superseding

Information (Docket No. 210).

      It is also recommended that the District Court grant, at the appropriate time, the

Government’s Motion to Dismiss the charges against the Defendant contained in Counts

One (1), Five (5), Six (6), and Seven (7) of the Third Superseding Indictment. (Docket

No. 88).

                                                 DATED: May 10, 2010.



                                                 Honorable Ronald E. Bush
                                                 U. S. Magistrate Judge
